
ON MOTION TO DISMISS
PER CURIAM.
On the authority of State v. C.C., 449 So.2d 280 (Fla. 3d DCA 1983) (en banc), we dismiss the State’s appeal from the trial court’s order suppressing evidence and decline to treat the unauthorized notice of appeal as a petition for writ of certiorari. We certify that this decision directly conflicts with State v. J.P.W., 433 So.2d 616 (Fla. 4th DCA 1983), and State v. W.A.M., 412 So.2d 49 (Fla. 5th DCA), rev. denied, 419 So.2d 1201 (Fla.1982). We further certify to the Supreme Court of Florida that this decision passes upon a question of great public importance, namely:
“Does the State have the authority to file plenary appeals in juvenile cases, and, if not, may this court review by certiorari an order suppressing evidence in a juvenile case?”
DANIEL S. PEARSON, Judge, concurring.
Because this court sitting en banc in State v. C.C., 449 So.2d 280 (Fla. 3d DCA *2331983), has, over my dissent, decided these issues adversely to the State, I reluctantly concur in the panel’s decision.
